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 4   Attorney for JUAN GONZALES
 5
 6                             UNITED STATES DISTRICT COURT
 7                           EASTERN DISTRICT OF CALIFORNIA
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 9
     UNITED STATES OF AMERICA,       )                      NO. 1:05 CR 00240 AWI
10                                   )
                     Plaintiff,      )                      STIPULATION TO CONTINUE
11                                   )                      SENTENCING HEARING
                vs.                  )
12                                   )                      DATE:              February 19, 2008
     JUAN GONZALES, et al.,          )                      TIME:              9:00 AM
13                                   )                      DEPT:              Anthony W. Ishii
                     Defendants.     )
14   _______________________________ )
15                 IT IS HEREBY STIPULATED by and between the parties hereto through
16   their attorneys of record that the sentencing hearing presently scheduled before the
17   Hon Anthony W. Ishii for February 19, 2008 at the hour of 9:00 AM be continued to
18   March 17, 2008 at 9:00 AM.
19                 The parties agree that the delay resulting from the continuance shall be
20   excluded in the interests of justice, including, but not limited to, the need for the period
21   of time set forth herein for effective defense preparation pursuant to 18 U.S.C.
22   Section 3161 (h)(8)(B)(iv).
23   Dated: February 14, 2008.                       McGREGOR W. SCOTT, United States Attorney
24
                                                     By: /s/ Kathleen Servatius
25                                                   KATHLEEN SERVATIUS, Assistant U.S. Attorney
                                                     Attorney for Plaintiff
26
     Dated: February 14, 2008.
27                                                   /s/ Daniel A. Bacon
                                                     DANIEL A. BACON,
28                                                   Attorney for Defendant JUAN GONZALES

                           Stipulation to Continue Sentencing Hearing and Order Thereon
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 1                                                ORDER
 2                IT SO ORDERED. Time is excluded in the interests of justice pursuant to
 3   18 U.S.C. Section 3161 (h)(8)(B)(iv).
 4
 5   IT IS SO ORDERED.
 6   Dated:    February 15, 2008                         /s/ Anthony W. Ishii
     0m8i78                                        UNITED STATES DISTRICT JUDGE
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                          Stipulation to Continue Sentencing Hearing and Order Thereon   2
